PROB 12B       Case 4:07-cr-00040-WTM-CLR Document 54 Filed 05/20/21 Page 1 of 3
(08/18)


                                     UNITED STATES DISTRICT COURT
                                                        for the
                                           Southern District of Georgia
                                                 Savannah Division


                         Request for Modifying the Conditions or Term of Supervision
                                           with Consent of the Offender
                                    (Probationform 49, Waiver ofHearing is Attached)

Name of Offender:        Michael Winn-Young                            Case Number: 4:07CR00040-1

Name of Sentencing Judicial Officer:              Honorable William T. Moore, Jr.
                                                  Judge, U.S. District Court

Date of Original Sentence:                        November 30, 2007

Original Offense:                                Possession with intent to distribute a quantity of cocaine base
                                                 (crack) and a quantity of cocaine hydrochloride (powder)

Original Sentence:                                151 months custody; 5 years supervised release; $100 special
                                                  assessment


Type of Supervision:                              Supervised Release

Date Supervision Commenced:                       July 19, 2019

Assistant U.S. Attorney:                          Karl I. Knoche

Defense Attorney:                                 Richard E. Braun, Jr.



                                          PETITIONING THE COURT



[X]       To modify the conditions of supervision as follows:

          The defendant shall not use or possess alcohol.

          The defendant shall participate in a program of treatment for drug and alcohol abuse. The costs of
          treatment shall be paid by the defendant in an amount to be determined by the probation officer, based
          on ability to pay or availability of third-party payment.

                                                       CAUSE


On May 2, 2021, Michael Winn-Young was arrested by the Mclntosh County Sheriffs Department(MCSD)for
the offenses of speeding, failure to maintain lane, and driving under the influence (DUI). According to an
MCSD incident report, on the aforementioned date, a traffic stop was initiated on a vehicle the offender was
operating after it was observed traveling at a rate of 70 miles per hour in a 45-mile-per-hour zone. During the
traffic stop, the offender was identified as the operator of the vehicle and the odor of an alcoholic beverage was
detected on the offender's breath. Winn-Young was questioned as to his alcohol consumption and he admitted
consuming alcoholic beverages. Based on his admission, the offender was arrested and transported to the
Mclntosh County Detention Center. He was released on May 3, 2021, after posting a $2,200 bond. This case is
pending disposition in the Mclntosh County Courts.
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Michael Winn-Young promptly contacted the probation office and reported his arrest. He advised the probation
officer that he exercised poor judgment in operating a motor vehicle after consuming alcoholic beverages.
Winn-Young related that given his actions and DUI arrest, he is willing to participate in a substance abuse
assessment and participate in substance abuse treatment as directed. The offender was reprimanded for
consuming alcoholic beverages and driving and was cautioned as to the consequences of engaging in criminal
conduct. Therefore, it is respectfully recommended that Winn-Young's conditions of supervision be modified to
include a requirement that he abstain from the use of alcohol during the term of supervision and participate in
substance abuse treatment as directed. Attached is a Waiver of Hearing to Modify Conditions of Supervised
Release, signed by the offender, agreeing to the proposed modification.

                                                                        Respectfully submitted,




Reviewed by:                                                            Ervin G. Frazier, II
                                                                        U.S. Probation Officer
                                                                        Date: May 17,2021


Stephen C. Highsmith
Supervisory U.S. Probation Officer



THE COURT ORDERS:


[ ]        No Action
[ ]        The Extension of Supervision as Noted Above
           The Modification of Conditions as Noted Above
[ ]        Other




                                                                    William T. Moore, Jr.
                                                                    Judge, U.S. District Court




                                                                    Date
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PROB 49

(3/89)




                                United States District Court
                                                       for the

                                             Southern District of Georgia
                                                  Savannah Division



                                    Waiver of Hearing to Modify Conditions
                                            of Supervised Release

    I have been advised and understand that I am entitled by law to a hearing and assistance ofcounsel before any
unfavorable change may be made in my Conditions of Probation and Supervised Release or my period of supervision
being extended. By "assistance of counsel," 1 understand that I have the right to be represented at the hearing by
counsel of my own choosing if 1 am able to retain counsel. 1 also understand that 1 have the right to request the court
to appoint counsel to represent me at such a hearing at no cost to myself if 1 am not able to retain counsel of my own
choosing.


   1 hereby voluntarily waive my statutory right to a hearing and to assistance of counsel. 1 also agree to the
following modification of my Conditions of Supervised Release:



The defendant shall not use or possess alcohol.

The defendant shall participate in a program of treatment for drug and alcohol abuse. The costs of treatment shall be
paid by the defendant in an amount to be determined by the probation officer, based on ability to pay or availability
of third-party payment.




Witness:                                                         ^
               (U.S. Pro                                               (Probationer or Sup     dsed Releasee)


                                                5Uf SI
                                                        Date
